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                         IN THE UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF MINNESOTA

           CRIMINAL MOTION HEARING VIA ELECTRONIC MEANS

UNITED STATES OF AMERICA,

                                    Plaintiff,
                                                                                   COURT MINUTES
v.                                                                                BEFORE: Becky R. Thorson
                                                                                    U.S. Magistrate Judge
Gregory Lynn McCoy (1),
                                                                     Case No:         20-150 (NEB/BRT)
                                    Defendant.                       Date:              February 4, 2021
                                                                     Court Reporter:    Erin Drost
                                                                     Courthouse:        St. Paul
                                                                     Courtroom:         Remote
                                                                     Time Commenced: 9:11 a.m.
                                                                     Time Concluded: 9:48 a.m.
                                                                     Time in Court:     0 Hours & 37 Minutes
                                                                     Hearing Type: Oral Argument



APPEARANCES:

Plaintiff: David J. MacLaughlin, Esq., Joseph Teirab, Esq., Assistant U.S. Attorneys
For Defendant Gregory Lynn McCoy (1):       Matthew Mankey, CJA

Interpreter / Language:       n/a

Hearing on:        Defendant’s Motion to Proceed Pro Se with Standby Counsel (Doc. No. 58).

Deft(s). addtl briefs due: N/A Govt. addl briefs due: N/A

Non-Dispositive motions taken under advisement as of today: N/A
Dispositive motions taken under advisement as of 2/4/2021: N/A

☒ ORDER TO BE ISSUED          ☐ NO ORDER TO BE ISSUED            ☐ R&R TO BE ISSUED          ☐ NO R&R TO BE ISSUED

☐ Exhibits retained by the Court    ☐ Exhibits returned to counsel     ☐ Text order to be entered by Clerk’s Office

Reset Hearings:
Voir Dire/Jury Instruction/Trial Date: to be determined

Additional Information: As stated on the record, Defendant’s Motion to Proceed Pro Se with Standby Counsel
(Doc. No. 58) is GRANTED IN PART and DENIED IN PART. A short order shall follow.

                                                                                                                         s/JGS
                                                                                                        Signature of Law Clerk
